UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

David Stebbins

Plaintiff
Case No. lO~ 336.5 -CV- > ~ACD

Reliable Heat & Air, LLC and Randal Richarson )
Defendant )

vs.

AFFIDAVIT OF FINANCIAL STATUS

I, ___David Stebbins _, declare that I am the plaintiff in this case, that bec use of my
poverty I am unable to pay the costs of these proceedings, and that I believe I ar entitled to
relief.

I further swear that the responses which I have made to the questions bel »w and the
information I have given relating to my ability to pay the costs of commencing and >rosecuting
this action are true.

I. MARITAL STATUS AND PERSONAL DATA

A. Single: X_  Married:__  Separated:__ Divorced:__
B Name of Spouse n/a

C. Age of plaintiff, petitioner or complainant: 21
D Age of spouse: n/a

E. Address of plaintiff, petitioner or complainant:

1407 N Spring Rd, APT #45, Harrison, AR 72601

Telephone: (870) 204 - 6024
F Address of spouse: n/a __
Telephone: n/a __

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 1 of 6
G. State name or names of dependents who live with you, their agi, address,

relationship, and how much of their monthly support you provide:

No dependants.

II. EMPLOYMENT

A. Name of employer: unemployed __

Address of employer: __

Employer's telephone: Length of employment:__

Job title or description: __

Net Income: Monthly $ Weekly $ _
Gross Income: Monthly $ Weekly §
Does employer provide health insurance: Yes No __

If employer provides health insurance, describe coverage:

B. Previous employment (Answer only if presently unemployed).

Name of employer: __

Address of employer:

Employer's telephone: Length of employment:

Job title or description: __

Net Income: Monthly $ Weekly §$ __
Gross Income: Monthly $ Weekly $
C. Employment of spouse:

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 2 of 6

Name of employer: _

Address of employer: _

Employer's telephone: Length of employment:__. __

Job title or description: _

Net Income: Monthly $ Weekly $ _
Gross Income: Monthly $ Weekly $

Il. FINANCIAL STATUS

(Answer questions on behalf of both the plaintiff, petitioner or complainant and spous :).

A. Owner of real property? Yes___ No_X

If yes - Description: _

Address: __

In whose name? _

Estimated value: —_—

Total amount owed: _

Owed to: _

Annual income from property: __

B. Owner of automobile: Yes_X No___

If yes - Number of automobiles owned: one

Make Isuzu Model_Pickup _ Year__1990

Make Model Year

In whose name registered?___ David Anthony Stebbins

Present value: Approximately $1,000.

Amount owed on the automobile(s): none

Owed to: nobody

Monthly payment(s): $0.00

C. Cash on hand: (Include checking and savings accounts)

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 3 of 6

$156.70

List names and addresses of banks and associations:

Please do not state account numbers:

Dz. Have you received within the past 12 months any money from any of the
following sources:
Yes No
Rent payments, interest or dividends: __ x
Pensions, trust funds, annuities or life
) insurance payments? __ _x.
Gifts or inheritances? __ xX
Welfare payments? __ _xX
ADC or other governmental child support? __ XxX
Unemployment benefits? __ xX
Social Security benefits? xX __
Other sources? __ _X_
E. If the answer to any item in D above was "Yes", describe eac.1 source of

money and state the amount received from each during the past 12 mor ths:

receive Supplemental Security Income every month inthe __

amount of $674.00 per month.

IV. OBLIGATIONS

A. Monthly rental on house or apartment: $375

B. Monthly mortgage payments on house:___n/a

Amount of equity in house:

C. Monthly mortgage payments on other properties: $

Amount of equity in other properties: $

D. Household expenses:

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 4 of 6

Monthly grocery expense:_$150 _

Monthly utilities:

Gas: _

Electric: —_

Water: _

Other: (Specify) _$22 for telephone _

E. Other debts and miscellaneous monthly expenses:

To WHOM OWED AND FOR WHAT REASON INCURRED? Monrtuty PAYMENTS BALANCE UE

V. OTHER INFORMATION PERTINENT TO FINANCIAL STATU!;

(Include information regarding stocks, bonds, savings bonds, either individually or jo ntly owned).

I understand that a false statement or answer to any question in this affidavit vill subject

me to penalties of perjury.

Signature of Plaintiff

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 5 of 6
VERIFICATION

State of

County of

I, being first duly sworn under oath, state that I know the contents of this affidavit and
that the information contained in the affidavit is true to the best of my knowledge and telief.

Signature of Plaintiff or Plaintiffs

All parties must verify

SUBSCRIBED AND SWORN TO before me this day of , 20

Notary Public

My Commission Expires

Case 6:10-cv-03305-RED Document 1-1 Filed 08/02/10 Page 6 of 6

